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                                                    United States District Court
                                                    Central District of California




 UNITED STATES OF AMERICA vs.                                           Docket No.            CR 07-00653 DDP
                                                                        Social Security
 Defendant         ANTHONY PORTA                                        No.                  3        5   2   5
 akas: none                                                             (Last 4 digits)

                                         JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                              MONTH    DAY   YEAR
       In the presence of the attorney for the government, the defendant appeared in person on this               05   01    2008


 COUNSEL           X WITH COUNSEL                                        Richard G. Hirsch, retained
                                                                                  (Name of Counsel)

                       GUILTY, and the court being satisfied that there is a factual basis for the           NOLO
     PLEA          X                                                                                                          NOT
                       plea.                                                                              CONTENDERE
                                                                                                                             GUILTY

   FINDING         There being a finding/verdict of    X    GUILTY, defendant has been convicted as charged of the offense(s) of:
                  18 U.S.C. § 2252A(a)(5)(B) : Possession of Child Pornography as charged in the Single
                  Count Information.
JUDGMENT          The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no
AND PROB/         sufficient cause to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as
  COMM            charged and convicted and ordered that: The defendant, Anthony Porta, is hereby committed on the
  ORDER           Single Count Information to the custody of the Bureau of Prisons to be imprisoned for a term of
                  33 months. Upon release from imprisonment, the defendant shall be placed on supervised
                  release for a term of ten years under the following terms and conditions:

         1.        The defendant shall comply with the rules and regulations of the
                   U. S. Probation Office and General Order 318;
         2.        The defendant shall participate in a psychological/psychiatric counseling
                   and/or a sex offender treatment program, which may include inpatient
                   treatment as approved by the Probation Officer. The defendant shall abide
                   by all rules, requirements, and conditions of such program, including
                   submission to risk assessment evaluation(s) and physiological testing such
                   as polygraph, and ABEL testing;
         3.        The defendant shall grant a limited waiver of his right of confidentiality in
                   any records of mental health treatment imposed as a consequence of this
                   judgment to allow the treatment provider to disclose information to the
                   Probation Officer. The Probation Officer shall disclose the Presentence
                   Report, and/or any previous sex offender or mental health evaluations to
                   the treatment provider;
         4.        As directed by the Probation Officer, the defendant shall pay all or part of
                   the costs of treating the defendant's psychological/ psychiatric care and
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                    sex offender treatment to the aftercare contractor during the period of
                    community supervision, pursuant to 18 U.S.C. § 3672. The defendant shall
                    provide payment and proof of payment as directed by the Probation Officer;
         5.         The defendant shall register with the local or state sex offender registration
                    agency in any state where the defendant resides, is being supervised, is
                    employed, carries on a vocation, or is a student, as directed by the
                    Probation Officer. The defendant shall provide proof or registration to the
                    Probation Officer within 3 days of release from imprisonment;
         6.         The defendant shall not possess any materials, including pictures,
                    photographs, books, writings, drawings, videos, or video games, depicting
                    and/or describing child pornography, as defined in 18 U.S.C. § 2256(8);
         7.         The defendant shall use only those computers and computer-related
                    devices, screen user names, passwords, e-mail accounts, and internet
                    service providers (ISPs) as approved by the Probation Officer. Computers
                    and computer-related devices include, but are not limited to, personal
                    computers, personal data assistants (PDAs), internet appliances, electronic
                    games, and cellular telephones, as well as their peripheral equipment, that
                    can access, or can be modified to access, the internet, electronic bulletin
                    boards, other computers, or similar media;
         8.         All computers, computer-related devices, and their peripheral equipment,
                    used by the defendant shall be subject to search and seizure and the
                    installation of search and/or monitoring software and/or hardware, including
                    unannounced seizure for the purpose of search. The defendant shall not
                    add, remove, upgrade, update, re-install, repair, or otherwise modify the
                    hardware or software on the computers, computer-related devices, or their
                    peripheral equipment, nor shall he hide or encrypt files or data without the
                    prior approval of the Probation Officer. Further, the defendant shall provide
                    all billing records, including telephone, cable, Internet, satellite, and the
                    like, as requested by the Probation Officer;
         9.         The defendant shall not possess or use a device with access to any online
                    service at any location without prior approval of the Probation Officer;
         10.        The defendant shall not access via computer any material that relates to
                    child pornography. The defendant shall not have another individual access
                    the Internet on his behalf to obtain files or information which he is restricted
                    from accessing himself, or accepting restricted files or information from
                    another person;
         11.        The defendant shall use computers/devices only within the scope of his
                    employment. The defendant shall not access a computer for any other
                    purposes. The defendant shall immediately report any changes at his
                    place of employment in regard to his Internet access and computer use
                    including but not limited to his Internet e-mail;
         12.        The defendant shall submit his person/residence, office, vehicle or other
                    area under his control, to search, conducted by the U.S. Probation Officer
                    or other law enforcement officer under the directions and control of the
                    Probation Officer at a reasonable time and in a reasonable manner, based
                    upon reasonable suspicion or contraband or evidence of a violation of the
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                   conditions of supervision; and
         12.       The defendant shall cooperate in the collection of a DNA sample from the
                   defendant.

The drug testing condition mandated by statute is suspended based on the Court's determination
that the defendant poses a low risk of future substance abuse.

The Court authorizes the Probation Officer to disclose the Presentence Report, and/or any previous
mental health evaluations or reports, to the treatment provider. The treatment provider may provide
information (excluding the Presentence Report), to State or local social service agencies (such as
the State of California, Department of Social Services), for the purpose of the defendant's
rehabilitation.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau
of Prisons on or before 12 noon on July 14, 2008. In the absence of such designation, the
defendant shall report on or before the same date and time, to the United States Marshal located at:
               Roybal Federal Building
               255 East Temple Street
               Los Angeles, California 90012

FINE: Pursuant to Section 5E1.2 (e) of the Guidelines, all fines are waived as it is found that the defendant
      does not have the ability to pay a fine.

SPECIAL ASSESSMENT: It is further ordered defendant shall pay to the United States a special
     assessment fee of $100, which is due immediately to the Clerk of the Court.

SENTENCING FACTORS: The sentence is based upon the factors set forth in 18 U.S.C. § 3553, including
     the applicable sentencing range set forth in the guidelines.
 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
 Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision,
 reduce or extend the period of supervision, and at any time during the supervision period or within the maximum period
 permitted by law, may issue a warrant and revoke supervision for a violation occurring during the supervision period.




             May 1, 2008
            Date                                            U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other
 qualified officer.

                                                            Sherri R. Carter, Clerk



             May 1, 2008                              By    John A. Chambers
            Filed Date                                      Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


       The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution , however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                     1. Special assessments pursuant to 18 U.S.C. §3013;
                     2. Restitution, in this sequence:
                               Private victims (individual and corporate),
                               Providers of compensation to private victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                     5. Other penalties and costs.




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                              SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court
                                                               By


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            Filed Date                                             Deputy Clerk




                                                FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                     Date




                    U. S. Probation Officer/Designated Witness                    Date




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